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                    BEFORE THE UNITED STATES JUDICIAL
                    PANEL ON MULTIDISTRICT LITIGATION

IN RE: VALSARTAN N-
NITROSODIMETHYLAMINE                                  MDL Docket No. 2875
(NDMA) PRODUCTS LIABILITY LITIGATION

                           NOTICE OF RELATED ACTION

       Pursuant to Rule 6.2(d) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Plaintiff Susan Guiton hereby notifies the Clerk of the

Panel of the related action listed on the attached Schedule of Actions. Copies of the

docket sheet and the complaint are also attached. Susan Guiton’s complaint involves

common factual questions with those actions presently pending transfer to the District of

New Jersey on Plaintiff Robert Kruk’s Motion to Transfer Actions [D.E. 1].



Dated: January 14, 2019               Respectfully submitted,


                                      /s/ Behram V. Parekh
                                      BEHRAM V. PAREKH

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